                Case 1:14-cr-00229-TCB-RGV Document 170 Filed 07/09/18 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


              UNITED STATES OF AMERICA                     CRIMINAL FILE NOS.

                           v.                              1: 14-cr-0227-3-TCB     and

              GARY EDWIN SHARP,                            1:14-cr-0229-1-TCB

                                Defendant.


                                                ORDER


                  This matter is before the Court on Defendant's unopposed motion to


             extend time to report for service of sentence (Doc. 178 (1:14-cr-227) and Doc.


             169 (1:14-cr-229)). For good cause shown, Defendant's motion is

             GRANTED.     Defendant Sharp may surrender to begin serving his sentence at


             the facility designated by the BOP on noon on July 14, 2018.


                  SO ORDERED this 9th day of July, 2018.




                                                Timothy C. Batten, Sr.
                                                United States District Judge




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(Rev.8/82)
